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United States District Court
District of Massachusetts

Nicholas Galakatos,
Plaintiff,

Vv. Civil Action No.

24-11259-NMG
Marsh & McLennan Companies, et al.,

Defendants.

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MEMORANDUM & ORDER
GORTON, J.

This case arises out of a boating accident in Greece, after
which the boat owner, Nicholas Galakatos (“plaintiff” or
“Galakatos”), made claims against defendants, Marsh & McLennan
Companies, Inc. and others (collectively, “defendants”) for
negligence, breach of contract and breach of fiduciary duty.
Pending before the Court is 1) a motion of defendants to dismiss
for failure to state a claim or, in the alternative, transfer
venue to the United States District Court for the Southern
District of New York and 2) a motion to strike filed by
plaintiff. For the following reasons, the motion to dismiss
will be allowed and the motion to strike will be denied.

I. Background

Plaintiff is a resident of Massachusetts and Vermont and

owns property in Greece. In 2015, he purchased a boat
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(“Galani”) to use in Greece. Defendants are associated entities
that offer professional services including insurance brokerage.
Plaintiff retained defendants’ insurance brokerage services for
the first time in 2006 and have purportedly relied since then on
their advice to procure insurance.

Sometime before 2018, defendants informed plaintiff, with
respect to his liability insurance, that

[i]n order for Marsh to thoroughly and appropriately advise

you and eliminate potential gaps in coverage, it is very

important that all your property and liability exposures be

identified and disclosed to us
Contemporaneously, plaintiff purchased a one-year, $10,000,000
excess coverage liability policy from American International
Group (“AIG”). The AIG policy was to provide coverage for
losses sustained “anywhere in the world.” Plaintiff also
purchased third party liability insurance for Galani from
Groupama Insurances (“Groupama”) in May, 2018. He contends that
he disclosed his ownership of Galani and his Groupama insurance
policy to defendants that same month.

In September, 2018, Galani collided with another vessel off
the coast of Greece, resulting in damage to both vessels, as
well as personal injuries to some passengers aboard the other
vessel. Plaintiff informed defendants of the accident, and they
requested information concerning

all [of his] property and liability exposures, even those
for which [it] may not be providing coverage.

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The collision spawned litigation as a result of which plaintiff
paid an undisclosed amount in settlement of claims against him.
He then made a claim on his AIG policy which was denied,
allegedly because defendants failed to add the Groupama policy
to the AIG policy.

Plaintiff subsequently filed suit in this Court alleging
that defendants failed to place and procure adequate liability
insurance coverage for Galani. The complaint asserts claims for
1) breach of contract, 2) negligence and 3) breach of fiduciary
duty. Defendants move to dismiss for failure to state a claim
under Fed. R. Civ. P. 12(b) (6) or, alternatively, to transfer
venue to the United States District Court for the Southern
District of New York. Plaintiff subsequently moved to strike a
client engagement letter that defendants attached to their
memorandum in support of their motion to dismiss.

II. Legal Standard

To survive a motion to dismiss, a plaintiff’s complaint
must contain factual matter sufficient to state a claim for
relief that is actionable as a matter of law and “plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim

is plausible if, after accepting as true all non-conclusory
factual allegations, the Court can draw the reasonable inference

that the defendant is liable for the misconduct alleged. Ocasio-
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Hernandez v. Fortuno-Burset, 640 F.3d 1, 12 (lst Cir. 2011). In

considering the merits of a motion to dismiss, the Court must
accept all factual allegations in the complaint as true and draw
all reasonable inferences in the plaintiff’s favor. R.G. Fin.

Corp. v. Vergara-Nunez, 446 F.3d 178, 182 (lst Cir. 2006).

III. Application

As a threshold matter, the parties disagree as to whether
Massachusetts or New York law applies but they do not address a
conflict of law issue. Based upon the authorities cited below,
however, the Court finds no material distinction between the
governing standards under Massachusetts and New York law, and
therefore considers all three claims by reference to the laws of

both jurisdictions. See Heinrich ex rel. Heinrich v. Sweet, 49

F. Supp. 2d 27, 37 (D. Mass. 1999) (addressing motion to dismiss
“utilizing both New York and Massachusetts case law” because
“the states [were] in agreement regarding the governing rules”
applicable to claims at issue).

A. Breach of Contract

Defendants first move to dismiss plaintiff's claim for
breach of contract by asserting that plaintiff has failed to
allege the specific terms of the parties’ alleged agreement.
Under Massachusetts law, breach of contract claim requires a
plaintiff to demonstrate that 1) “a valid, binding contract

existed,” 2) “the defendant breached the terms of the contract”
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and 3) “the plaintiffs sustained damages as a result of the

breach.” Vieira v. First Am. Title Ins. Co., 668 F. Supp. 2d

282, 288 (D. Mass. 2009) (citing Brooks v. AIG SunAmerica Life

Assur. Co., 480 F.3d 579, S586 (1st Cir. 2007)). Similarly, a

breach of contract claim under New York law requires a plaintiff
to allege 1) “the existence of a contract,” 2) “the defendant's
breach of his or her contractual obligations” and 3) “damages

resulting from the breach.” In re GlassHouse Techs., Inc., 654

B.R. 190, 202 (D. Mass. 2023) (citing Dee v. Rakower, 976
N.¥.S.2d 470, 474 (App. Div. 2013) (collecting cases))).1

In both jurisdictions, a breach of contract claim must
accompany allegations of “the specific terms of a contract
[plaintiff] alleges defendant has breached,” even if brought pro

se. Brooks v. JPMorgan Chase Bank, N.A., No. CIV.A. 12-11634-

FDS, 2013 WL 3786448, at *3 (D. Mass. July 17, 2013); see Doyle
v. Hasbro, Inc. 103 F.3d 186, 195 (1st Cir. 1996) (holding that
a breach of contract claim, to be viable, must allege “the terms

of a contract”); see also Anderson v. Greene, 774 F. App’x 694,

697 (2d Cir. 2019) (“[A] complaint must plead the specific
provisions of the contract that were allegedly breached.”
(citing Sud v. Sud, 621 N.Y.S.2d 37, 38 (App. Div. 1995)).

Here, Galakatos fails to state a viable claim for breach of

contract because his complaint does not allege any specific

1 New York case law also considers plaintiff's performance but that is not at
issue in this case.
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provision of the purported agreement between plaintiff and
defendants that defendants allegedly breached. The thrust of
plaintiff's claim is that defendants are liable for breach of
contract because they failed to procure insurance for Galani
“for the 2018-2019 term up to $20 million.” Nowhere in the
complaint, however, does plaintiff refer to any term of any
contract between him and defendants, let alone one that
specifically binds them to procure insurance for Galani in that

amount. See JPMorgan Chase Bank, N.A., 2013 WL 3786448, at *3

(requiring allegations of contractual term to state breach of

contract claim); see also Anderson, 774 F. App’x at 697 (same).

Galakatos instead relies on two writings from defendants
(which plaintiff describes as “communications”) that ask him to
inform defendants of his “liability exposures” in order to
“eliminate potential gaps in coverage.” One of those
communications is irrelevant because it was sent after the
collision. A purported communication from a company, moreover,

does not constitute a contractual term. Accord Lelio v. Marsh

USA, Inc., No. CV 15-10335-MLW, 2017 WL 3494214, at *9 (D. Mass.
Aug. 14, 2017) (finding reliance on emails and other
communications from company’s compensation guide were “not the
proper basis for a breach of contract claim” absent allegations
of contractual provisions themselves). That is especially true

where plaintiff does not specify when those communications were
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sent relative to the collision. See Hadami, S.A. v. Xerox Corp.,

272 F. Supp. 3d 587, 597 (S.D.N.¥. 2017) (finding claim that
company violated alleged promise made in undated letter could

not sustain breach of contract claim); accord Doyle, 103 F.3d at

195 (finding that viable breach of contract claim must include
allegation of when contract was made).

Plaintiff also asserts that defendants failed to meet with
him regularly and therefore did not ensure that his coverage
needs were met or that they applied, per the AIG policy,
“anywhere in the world.” The complaint cites no contractual
term, however, that binds defendants to conduct such reviews.

Cf. JPMorgan Chase Bank, N.A., 2013 WL 3786448, at *3.

Even construing plaintiff's allegations in his favor, such
pleading deficiencies are fatal to his breach of contract claim

under both Massachusetts and New York law. See Squeri v. Mount

Ida Coll., No. CV 18-12438-RGS, 2019 WL 2249722, at *5 (D. Mass.
May 24, 2019), aff'd, 954 F.3d 56 (1st Cir. 2020) (finding “bare
allegations” about entity breaching contract without allegations
of specific contract provision at issue “d[id] not suffice for a

breach of contract claim”); see also Woodhill Elec. v. Jeffrey

Beamish, Inc., 904 N.¥.S.2d 232, 233 (App. Div. 2010) (affirming

dismissal of breach of contract claim because plaintiff failed
to “set forth the particular terms of the contract upon which

[the] claim [was] based”).
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B. Negligence

Defendants next assert that Galakatos fails to state a
claim for negligence because that claim is barred by the
“economic loss doctrine.” The economic loss doctrine prohibits
a plaintiff from recovering in tort for a breach of contract
unless he alleges that his damages “involved physical harm or

property damage, and not solely economic loss.” In re Shields

Health Care Grp., Inc. Data Breach Litig., 721 F. Supp. 3d 152,

160-61 (D. Mass. 2024) (quoting Cumis Ins. Soc’y, Inc. v. BJ's

Wholesale Club, Inc., 918 N.E.2d 36, 46 (Mass. 2009)). This

rule, which exists under “both Massachusetts and New York law,”
protects contracting the ability of parties to allocate risks
and create reasonable expectations about liabilities. Szulik v.

State St. Bank & Tr. Co., 935 F. Supp. 2d 240, 270-71 &n.10 (D.

Mass. 2013) (citing Burns v. Del. Charter Guar. & Tr. Co., 805

F. Supp. 2d 12, 24 (S.D.N.Y¥. 2011)).

Specific to insurance brokerage, New York and Massachusetts
both recognize an exception to the economic loss rule where a
broker negligently fails to obtain an insurance policy and

therefore causes economic loss to the insured. Rae v. Air-Speed,

Inc., 435 N.E.2d 628, 631 (Mass. 1982); see Everett J. Prescott,

Inc. v. Nat’l Grange Ins. Co., No. 923047, 1993 WL 818680, at *1

(Mass. Super. Dec. 1, 1993) (characterizing Rae as creating

exception to economic loss rule); see also Jual Const. Ltd. v.

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A.C. Edwards, Inc., 902 N.Y¥.S.2d 428, 428 (App. Div. 2010) (“An

insurance agent or broker may be held liable under... [a]
negligence [claim] for failing to procure insurance... ,
either because the broker breached the [parties’] agreement [or]
failed to exercise due care in the transaction.” (quotations
omitted) ).

As with any negligence claim, a claim for negligent failure
to procure insurance requires an allegation that defendant owed

plaintiff a duty of care. John Beaudette, Inc. v. Sentry Ins. A

Mut. Co., 94 F. Supp. 2d 77, 131 (D. Mass. 1999). Whether a
defendant owes a duty of care is a question of law that, in
cases of negligent failure to procure insurance, must be
predicated on an affirmative request from the plaintiff. See

Masonic Temple Ass'n of Quincy, Inc. v. Patel, 185 N.E.3d 888,

899 (Mass. 2022); accord Marquez v. Home Depot USA, Inc., 154 F.

Supp. 2d 152, 156 (D. Mass. 2001) (“[T]he existence of a duty is
a question of law.”). A broker “cannot be liable” in negligence
for failure to procure insurance unless the plaintiff made an

“intelligible request for it to do so.” Masonic Temple Ass’n of

Quincy, Inc., 185 N.E.3d at 899 (citing Rae, 435 N.E.2d at 631);

see Jual Const. Ltd., 902 N.Y.S.2d at 428 (collecting cases) .?

2 There may be an exception to the “intelligible request” rule if there are
“special circumstances,” and therefore a fiduciary relationship, between the
parties, see Masonic Temple Ass'n of Quincy, Inc., 185 N.E.3d at 899, but for
reasons discussed below that exception is not applicable in this case.

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Here, because plaintiff's claim arises from allegations
that an insurance broker negligently failed to obtain an
insurance policy, it is not inherently barred by the economic
loss doctrine under either Massachusetts or New York law. See
Rae, 435 N.E.2d at 631 (promulgating exception to economic loss

rule); see also Jual Const. Ltd., 902 N.Y.S.2da at 428 (same) .

Nevertheless, plaintiff's negligence claim is deficient
because he does not allege that defendant was duty-bound to
procure insurance in the manner he asserts. According to the
complaint, defendant

had a duty of care to [p]laintiff to . . . procure adequate

third[-]party liability insurance for Galani .. . up to

$20 million.
Plaintiff bases that claim of duty upon communications from
defendants that discuss “eliminat[ing] gaps in coverage” to
ensure plaintiff's “coverage needs are met” but there is no
allegation of a specific contractual term requiring defendants
to procure $20,000,000 in insurance for Galani. Nothing in the

later communication, moreover, alleges a specific request to

procure a specific amount of insurance. See Masonic Temple

Ass'n of Quincy, Inc., 185 N.E.3d at 899 (requiring allegations

of “intelligible request” made to broker for claim for negligent

failure to procure insurance to be actionable); see also Jual

Const. Ltd., 902 N.Y¥.S.2d at 428 (similar).

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Galakatos further asserts that he “expected” defendants to
“adequately” procure insurance for Galani. Brokers are under no
duty, however, to procure a specific level of insurance
coverage, adequate or otherwise, unless and until they are

requested to do so. See AGA Fishing Grp. Ltd. v. Brown & Brown,

Inc., 533 F.3d 20, 23 (1st Cir. 2008) (“There is no general duty
of an insurance agent to ensure that the insurance policies
procured by him provide coverage that is adequate for the needs

of the insured.” (citing Martinois v. Utica Nat’l Ins. Grp., 65

Mass. App. Ct. 418, 421 (2006))); see also 46th St. Dev., LLC v.

Marsh USA Inc., No. 6012222010, 2011 WL 11074838, at *3 (N.Y.

Sup. Ct. Aug. 25, 2011) (“An insurance broker bears no

continuing duty to . . . direct a client to obtain additional
coverage . . . [absent a] specific request for a certain type of
coverage.”). No such request is adequately alleged in

plaintiff's complaint.
Accordingly, plaintiff‘s claim for negligence, whether
construed in light of Massachusetts law or New York law, will be

dismissed. See Masonic Temple Ass’n of Quincy, Inc., 185 N.E.3d

at 899 (rejecting negligent failure to procure insurance claim
because there has been “no intelligible request” for broker to

obtain insurance in the manner alleged); see also Brannigan v.

Door, 53 N.Y.S.3d 106, 106 (App. Div. 2017) (dismissing claim
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against broker where plaintiff “failed to allege that [he]
requested that [the broker] procure a specific type of policy”).

Cc. Breach of Fiduciary Duty

Finally, defendant contend that plaintiff's breach of
fiduciary duty claim is not actionable because the complaint
does not allege sufficient facts to show that a fiduciary
relationship existed between plaintiff and defendants. As
Galakatos concedes, the general rule in both Massachusetts and
New York is that insurance brokers “do not... owea fiduciary

duty” to their clients. BioChemics, Inc. v. AXIS Reinsurance

Co., 277 F.Supp.3d 251, 255 (D. Mass. 2017) (citing Robinson v.

Charles A. Flynn Ins. Agency, Inc., 653 N.E.2d 207, 207-08

(Mass. App. Ct. 1995)); see Murphy v. Comm. Land Title Ins. Co.,

621 F. Supp. 3d 373, 379 (E.D.N.Y¥. 2022) (“It is well
established that insurance companies normally do not owe a
fiduciary duty to their insureds.” (quotations omitted)).

A fiduciary duty between a broker and an insured arises
only in the narrow instance where there is a “special
circumstance” or “special relationship” between them which,

ordinarily, is a question of fact. BioChemics, Inc., 277 F.

Supp. 3d at 255; Murphy, 621 F. Supp. 3d at 379. Special
circumstances may arise based upon sufficient allegations that a
broker 1) has a longstanding relationship with the insured, 2)

holds itself out as the client’s insurance advisor or 3) is paid

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separately for its advice. Pedersen v. Hart Ins. Agency, Inc.,

No. CIV. 10-10922-NMG, 2011 WL 4970920, at *3 (D. Mass. Oct. 18,

2011) (citing AGA Fishing Grp. Ltd. v. Brown & Brown, Inc., 533

F.3d 20, 23-24 (1st Cir. 2008)); Murphy, 621 F. Supp. 3d at 379.
Here, plaintiff fails to state a claim for breach of
fiduciary duty because he does not adequately allege a fiduciary
relationship existed between him and defendants. His complaint
offers a single allegation that he had a “special, longstanding
relationship” with defendants but that conclusory statement is
unavailing without factual support. The complaint does not
explain how or why their relationship was longstanding, how
defendants held themselves out as plaintiff’s advisor or whether
consideration was paid for insurance advice. The absence of
such allegations negates any fiduciary duty claim. Cf. Pedersen,
2011 WL 4970920, at *3 (outlining circumstances that give rise
to fiduciary obligation); Murphy, 621 F. Supp. 3d at 379 (same).
To be sure, plaintiff's complaint does state that plaintiff
has allegedly been a client of defendants since 2006 and that
defendants had communicated with plaintiff about “appropriately
advisf{ing]” him. A lengthy relationship doe not, however, make

it special. See Humphries v. Metro. Prop. & Cas. Ins. Co., No.

152521/2015, 2020 WL 5801066, at *5 (N.Y. Sup. Ct. Sep. 29,
2020) (“[T]he duration of the client-broker relationship alone

does not create a special relationship[, even a] .. . 20-year

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client-broker relationship.”); see also RLI Ins. Co. v. Wood

Recycling, Inc., No. CIV.A.03-10196-RWZ, 2006 WL 839514, at *8

(D. Mass. Mar. 30, 2006) (finding no special circumstances
despite longstanding broker-insured relationship). Likewise, a
broker's written communications or advertisements promising
expertise and advice alone cannot give rise to a special

relationship. See Capital Asset Recovery Fund, LP v. Glacial

Star Grp., Inc., No. 451887/2014, 2016 WL 2961990, at *6 (N.Y.

Sup. Ct. May 19, 2016) (“[A] subjective claim of reliance on
another party’s expertise does not give rise to a fiduciary

relationship.”); see also Patsos v. First Albany Corp., 741

N.E.2d 841, 851 (Mass. 2001) (recognizing that merely placing
trust in broker does not create fiduciary relationship) .

Because the foregoing reasons provide sufficient grounds to
dismiss the complaint, the Court declines to address defendants’
additional arguments that this case should be dismissed because
of the alleged mandatory forum selection clause, or because the
alleged forum selection clause warrants a transfer of venue.
Plaintiff's pending motion to strike the client engagement
letter, attached to defendants’ pleadings, which is related to
defendants’ arguments regarding the forum selection clause, will

also be denied as moot.

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ORDER
For the foregoing reasons, the motion to dismiss of
defendants, Marsh & McLennan Companies, Inc., and others,

(Docket No. 9) is ALLOWED, and the motion of plaintiff, Nicholas

Galakatos, to strike (Docket No. 24) is DENIED.
So ordered.

Nathaniel M. Gdéfton
United States District Judge

Dated: FebruaryJY , 2025
